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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X             8/21/2023
                                                                       :
MULTI ACCESS LIMITED,                                                  :
                                                                       :
                                    Plaintiff,                         :
                                                                       :
                  -v-                                                  :
                                                                       :
GUANGZHOU BAIYUNSHAN                                                   :
PHARMACEUTICAL HOLDINGS CO., LTD.                                      :
(AKA GUANGZHOU BAIYUNSHAN                                              :
PHARMACEUTICAL HOLDING CO., LTD.);                                     :
WLJ (AMERICA) CO. INC.; GUANGZHOU                                      :
WANGLAOJI GREAT HEALTH CO., LTD.;                                      :
GUANGZHOU WANG LAO JI GREAT                                            :
HEALTH INDUSTRY CO., LTD. (AKA WLJ                                     :
GREAT HEALTH INDUSTRY CO., LTD.);                                      :   20-cv-7397 (LJL)
GUANGZHOU WANGLAOJI                                                    :
PHARMACEUTICAL CO., LTD.;                                              :       ORDER
GUANGZHOU WANG LAO JI GREAT                                            :
HEALTH ENTERPRISE DEVELOPMENT CO.,                                     :
LTD. (AKA WLJ GREAT HEALTH                                             :
ENTERPRISES DEVELOPMENT CO., LTD.);                                    :
GUANGZHOU PHARMACEUTICAL                                               :
HOLDINGS LTD. (AKA GUANGZHOU                                           :
PHARMACEUTICAL GROUP); GUANGZHOU                                       :
WANG LAO JI GREAT HEALTH ENTERPRISE                                    :
CO., LTD.; GUANGZHOU WANGLAOJI                                         :
HEALTH INDUSTRY CO., LTD., and TRISTAR                                 :
FOOD WHOLESALE CO. INC.,                                               :
                                                                       :
                                    Defendants.                        :
                                                                       :
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LEWIS J. LIMAN, United States District Judge:

       For the reasons stated in the Opinion and Order filed by the Court today: Defendants’
motion to dismiss is GRANTED IN PART and DENIED IN PART.

       In order to preserve the ability of the parties to move the Court for redactions from the
Opinion and Order, the Opinion and Order is temporarily filed under seal. The parties shall meet
and confer with respect to potential redactions and, by September 4, 2023, the parties shall file
any proposed redactions pursuant to the Court’s Individual Practices. The Court will rule on any
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outstanding motions to seal at the same time it rules on any proposed redactions to the Opinion
and Order.

       SO ORDERED.


Dated: August 21, 2023                              __________________________________
       New York, New York                                      LEWIS J. LIMAN
                                                           United States District Judge




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